    Case 22-22005-CMB             Doc 7 Filed 10/12/22 Entered 10/12/22 08:30:27                     Desc Notice
                                    to File Claims (Case Op Page 1 of 1
Form 154A
                                   UNITED STATES BANKRUPTCY COURT                            7
                                   WESTERN DISTRICT OF PENNSYLVANIA

In re:                                                                 Bankruptcy Case No.: 22−22005−CMB

                                                                       Chapter: 7
Lockhart Chemical Company
fka Additives International
25−1231193
   Debtor(s)

                                       NOTICE TO FILE PROOF OF CLAIM

NOTICE IS GIVEN THAT:

   Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the bankruptcy
court at the address below on or before .

   Creditors who do not file a proof of claim on or before this date might not share in any distribution from the
debtor's estate.

   A proof of claim is a signed statement describing a creditor's claim. Claims can be filed electronically through the
court's website at http://www.pawb.uscourts.gov/filing−proof−claim using the Electronic Proof of Claim ("ePOC")
System.

   Additional information regarding obtaining a proof of claim form (Official Form B410) and filing a proof of
claim, including information regarding filing a claim by regular mail, can be found at the court's website at
http://www.pawb.uscourts.gov/filing−proof−claim.

   There is no fee for filing the proof of claim.

   Any creditor who has filed a proof of claim already need not file another proof of claim.

  Governmental units must file their claims 180 days after the date of the order for relief or the date listed above,
whichever is later.

Address of the Bankruptcy Court                                                 Michael R. Rhodes
  U.S. Bankruptcy Court                                                         Clerk, U.S. Bankruptcy Court
  c/o CLAIMS CLERK
  5414 U.S Steel Tower
  600 Grant Street
  Pittsburgh, PA 15219

Dated: 10/12/22
